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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                                                                     December 02, 2021
                                                                      Nathan Ochsner, Clerk

                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

       ERNEST ADIMORA-        § CIVIL ACTION NO.
       NWEKE,                 § 4:20-cv-04149
                Plaintiff,    §
                              §
                              §
              vs.             § JUDGE CHARLES ESKRIDGE
                              §
                              §
       STEVEN A. MCGRAW,      §
       et al,                 §
                  Defendants. §

                       ORDER ADOPTING
                MEMORANDUM AND RECOMMENDATION

           Plaintiff Ernest Adimora-Nweke represents himself
       here pro se. But he’s also a lawyer. As such, Magistrate
       Judge Sam S. Sheldon declined to leniently construe his
       pleadings in the Memorandum and Recommendation. See
       Dkt 50 at 4. Neither will this Court in reviewing Adimora-
       Nweke’s objections. See Wright v McCain, 703 F App’x 281,
       284 (5th Cir 2017, per curiam). Indeed, Adimora-Nweke is
       admonished and cautioned to observe the dictates of
       Rule 11 of the Federal Rules of Civil Procedure going
       forward. This Court will not hesitate where warranted to
       shift costs, make a referral to the Texas State Bar for
       appropriate disciplinary proceedings, or otherwise issue
       any necessary sanctions.
           Adimora-Nweke brought this action in state court,
       which was removed here. Dkt 1. Now at issue is his
       rambling, 125-page fourth amended complaint that asserts
       wide-ranging causes of action against approximately thirty
       putative defendants under (among other things) the
       United States Constitution and state tort law, while also
       seeking class certification. Dkt 6. The removal papers
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       include a lengthy appendix of materials filed in state court
       prior to removal. Dkt 2.
           All of this relates to his arrest on suspicion of driving
       while intoxicated in November 2018. He there refused to
       voluntarily provide a breath or blood sample after being
       warned that such refusal would subject his driver’s license
       to automatic suspension pursuant to § 724.015 of the Texas
       Transportation Code. Dkt 6 at 86–87; see also Dkt 2 at 176
       (DIC-24 statutory warning). And so, he received notice via
       a form DIC-25 that his license would be suspended. Dkt 2
       at 352 (DIC-25 notice of suspicion). A form DIC-25 also
       serves as a temporary driving permit where one’s driver’s
       license is confiscated. Ibid.
           Section 724.041(a) of the Texas Transportation Code
       permits an individual within fifteen days of arrest or of
       receiving notice of suspension to request an Administrative
       License Revocation hearing. Adimora-Nweke requested
       such a hearing. Dkt 6 at 87–88. But he was later notified
       that his request was deficient. Dkt 2 at 347. He didn’t
       attempt to correct the stated deficiencies until well after
       the statutorily required fifteen-day period. Id at 348–51.
       And so, his license was suspended from December 24, 2018
       through June 21, 2019. Id at 345 (order of suspension).
           Adimora-Nweke’s license is no longer suspended, and
       he’s permitted to drive but must remit the required $125
       reinstatement fee before a new license will be issued. Ibid.
       He hasn’t paid the fee and contends that the DIC-24
       warning fails to strictly comply with § 724.015 of the Texas
       Transportation Code and is unconstitutional on its face.
       Dkt 6 at 98–100.
           The case was referred for disposition to Magistrate
       Judge Sam S. Sheldon. Dkt 12. By Memorandum and
       Recommendation, he resolved a number of outstanding
       motions. See Dkt 50.
           First, upon determination that Adimora-Nweke lacks
       standing to assert claims concerning form DIC-24, he
       recommended that the motion to dismiss by Defendant
       Steven A. McGraw, in his official capacity as Director of the




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       Texas Department of Public Safety, be granted. Dkt 15;
       Dkt 50 at 1. Plainly, section 724.015(6) of the Texas
       Transportation Code applies only “to individuals who do
       not have a driver’s license.” Id at 5. And because Adimora-
       Nweke had a driver’s license at the time of his arrest—a
       contention he doesn’t refute—he couldn’t have been injured
       by a lack of notice as to this section. Ibid. Further, because
       his license is no longer suspended and he’s permitted to
       drive, Adimora-Nweke’s claims are moot. Id at 6–7.
           Second, he recommended that all other pending
       motions be denied as moot. Dkt 50 at 1. These included:
               o Adimora-Nweke’s motion for partial summary
                    judgment and injunction, Dkt 5;
               o Adimora-Nweke’s amended motion for partial
                    summary       judgment,       injunction,    class
                    certification, representation, counsel, and
                    counsel compensation, Dkt 7;
               o Adimora-Nweke’s second amended motion for
                    partial summary judgment, injunction, class
                    certification, representation, counsel, and
                    counsel compensation, Dkt 17; and
               o Adimora-Nweke’s emergency motion for
                    alternate service, to separate, and leave to
                    amend, Dkt 22.
           Adimora-Nweke timely objected, contending that the
       findings by the Magistrate Judge assume facts not in
       evidence, are contrary to the scope of a 12(b)(6) motion, and
       error on facts and the law. Dkt 51.
           The district court conducts a de novo review of those
       conclusions of a magistrate judge to which a party has
       specifically objected. See 28 USC § 636(b)(1)(C); see also
       United States v Wilson, 864 F2d 1219, 1221 (5th Cir 1989).
       To accept any other portions to which there is no objection,
       the reviewing court need only satisfy itself that no clear
       error appears on the face of the record. See Guillory v PPG
       Industries Inc, 434 F3d 303, 308 (5th Cir 2005), citing
       Douglas v United Services Automobile Association, 79 F3d




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       1415, 1420 (5th Cir 1996); see also FRCP 72(b) Advisory
       Comm Note (1983).
           The Court has reviewed de novo the objections by
       Adimora-Nweke. The response by McGraw adequately and
       accurately addresses all such complaints. Dkt 52. The
       objections lack merit and disposition is controlled by
       authority cited in the Memorandum and Recommendation.
           The Court has otherwise considered the Memorandum
       and Recommendation and reviewed the pleadings, the
       response, and the reply. No clear error appears.
           The Memorandum and Recommendation of Magistrate
       Judge is ADOPTED as the Memorandum and Order of this
       Court. Dkt 50.
           The motion to dismiss by Defendant Steven A.
       McGraw, in his official capacity as Director of the Texas
       Department of Public Safety, is GRANTED. Dkt 15.
           McGraw is DISMISSED WITH PREJUDICE. This is
       appropriate where the subject pleading is a fourth
       amended complaint of 125 pages in length, and yet it fails
       even now to meet the requirements of Rule 8(a)(2). See Dkt
       50 at 7–8.
           The various other motions by Plaintiff Ernest Adimora-
       Nweke are DENIED AS MOOT. Dkts 5, 7, 17, & 22.
           SO ORDERED.



          Signed on December 2, 2021, at Houston, Texas.


                                __________________________
                                Hon. Charles Eskridge
                                United States District Judge




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